        Case 1:21-cv-03678-TWT Document 1 Filed 09/03/21 Page 1 of 13




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

YVONNE BROWN,                          )
                                       )
      Plaintiff,                       )
                                       )       CIVIL ACTION
v.                                     )
                                       )       FILE No. _____________________
KRISLINKS INC,                         )
                                       )
      Defendant.                       )

                                   COMPLAINT

      COMES NOW, YVONNE BROWN, by and through the undersigned

counsel, and files this, her Complaint against Defendant KRISLINKS INC

pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.

(“ADA”) and the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”).

In support thereof, Plaintiff respectfully shows this Court as follows:

                         JURISDICTION AND VENUE

      1.     This Court has original jurisdiction over the action pursuant to 28

U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et

seq., based upon Defendant’s failure to remove physical barriers to access and

violations of Title III of the ADA.

      2.     Venue is proper in the federal District Court for the Northern District


                                           1
            Case 1:21-cv-03678-TWT Document 1 Filed 09/03/21 Page 2 of 13




of Georgia, Atlanta Division, as Plaintiff is a resident of Douglas County, Georgia,

and Defendant maintains its registered agent for service of process in Douglas

County, Georgia.

                                       PARTIES

       3.       Plaintiff YVONNE BROWN (hereinafter “Plaintiff”) is, and has been

at all times relevant to the instant matter, a natural person residing in Douglasville,

Georgia (Douglas County).

       4.       Plaintiff suffers from Epilepsy, Multiple Sclerosis (“MS”) and has

suffered multiple injuries resulting in irreversible damage to her legs, and is

disabled as defined by the ADA.

       5.       Plaintiff is required to traverse in a wheelchair and is substantially

limited in performing one or more major life activities, including but not limited

to: walking and standing.

       6.       Plaintiff uses a wheelchair for mobility purposes.

       7.       Defendant KRISLINKS INC (hereinafter “Defendant”) is a Georgia

corporation that transacts business in the state of Georgia and within this judicial

district.

       8.       Defendant may be properly served with process via its registered

agent for service, to wit: Ravi K. Dupaguntla, 5263 Brookhollow Drive,


                                            2
        Case 1:21-cv-03678-TWT Document 1 Filed 09/03/21 Page 3 of 13




Douglasville, Georgia, 30135.

                           FACTUAL ALLEGATIONS

      9.     On or about July 16, 2021, Plaintiff attempted to patronize “Discount

Smokes & Beer,” a business located at 733 W. Bankhead Highway, Douglasville,

Georgia 30180, but was unable to do so herself due to the dangerous conditions

and violations of the ADA and ADAAG set forth in this Complaint.

      10.    Defendant is the owner (or co-owner) of the real property and

improvements that are the subject of this action. (The structures and improvements

situated upon said real property shall be referenced herein as the “Facility,” and

said real property shall be referenced herein as the “Property”).

      11.    Plaintiff lives approximately thirteen (13) miles from the Facility and

Property.

      12.    Plaintiff regularly travels in the near vicinity of the Facility and

Property.

      13.    Plaintiff’s access to the business(es) located at 733 W. Bankhead

Highway, Douglasville, Georgia 30180, (Carroll County Property Appraiser’s

parcel number V02 0070102) and/or full and equal enjoyment of the goods,

services, foods, drinks, facilities, privileges, advantages and/or accommodations

offered therein were denied and/or limited because of her disabilities, and she will


                                          3
        Case 1:21-cv-03678-TWT Document 1 Filed 09/03/21 Page 4 of 13




be denied and/or limited in the future unless and until Defendant is compelled to

remove the physical barriers to access and correct the ADA violations that exist at

the Facility and Property, including those set forth in this Complaint.

      14.    Plaintiff has visited the Facility and Property at least once before and

intends on revisiting the Facility and Property once the Facility and Property are

made accessible.

      15.    Plaintiff intends to revisit the Facility and Property to purchase goods

and/or services.

      16.    Plaintiff travelled to the Facility and Property as a customer and as an

advocate for the disabled, encountered the barriers to her access of the Facility and

Property that are detailed in this Complaint, engaged those barriers, suffered legal

harm and legal injury, and will continue to suffer such harm and injury as a result

of the illegal barriers to access present at the Facility and Property.

                               COUNT I
                   VIOLATIONS OF THE ADA AND ADAAG

      17.    On July 26, 1990, Congress enacted the Americans with Disabilities

Act 42 U.S.C. § 12101 et seq. (the “ADA”).

      18.     The ADA provided places of public accommodation one and a half

years from its enactment to implement its requirements.

      19.    The effective date of Title III of the ADA was January 26, 1992 (or

                                           4
        Case 1:21-cv-03678-TWT Document 1 Filed 09/03/21 Page 5 of 13




January 26, 1993 (if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      20.   The Facility is a public accommodation and service establishment.

      21.   The Property is a public accommodation and service establishment.

      22.   Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

the Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      23.   Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

      24.   Liability for violations under Title III or the ADA falls on “any person

who owns, leases (or leases to), or operates a place of public accommodation.” 42

U.S.C. § 12182(a).

      25.   The Facility must be, but is not, in compliance with the ADA and

ADAAG.

      26.   The Property must be, but is not, in compliance with the ADA and

ADAAG.

      27.    Plaintiff has attempted to, and has to the extent possible, accessed the


                                         5
        Case 1:21-cv-03678-TWT Document 1 Filed 09/03/21 Page 6 of 13




Facility and the Property in her capacity as a customer of the Facility and Property,

and as an advocate for the disabled, but could not fully do so because of her

disabilities resulting from the physical barriers to access, dangerous conditions and

ADA violations that exist at the Facility and Property that preclude and/or limit her

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      28.    Plaintiff intends to visit the Facility and Property again in the future as

a customer and as an advocate for the disabled in order to utilize all of the goods,

services, facilities, privileges, advantages and/or accommodations commonly

offered at the Facility and Property, but will be unable to fully do so because of her

disability and the physical barriers to access, dangerous conditions and ADA

violations that exist at the Facility and Property that preclude and/or limit her

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      29.    Defendant has discriminated against Plaintiff (and others with

disabilities) by denying her access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Facility


                                           6
        Case 1:21-cv-03678-TWT Document 1 Filed 09/03/21 Page 7 of 13




and Property, as prohibited by, and by failing to remove architectural barriers as

required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      30.    Defendant will continue to discriminate against Plaintiff and others

with disabilities unless and until Defendant is compelled to remove all

physical barriers that exist at the Facility and Property, including those specifically

set forth herein, and make the Facility and Property accessible to and usable by

Plaintiff and other persons with disabilities.

      31.    A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Facility and Property and the full and equal

enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Facility and Property include, but are not limited to:

      (a)    EXTERIOR ELEMENTS:

      (i)    There are no accessible parking spaces on the Property that

             comply with section 502 of the 2010 ADAAG standards, in

             violation of section 208 of the 2010 ADAAG standards.

      (ii)   There are significant amounts of broken pavement and

             excessive vertical rises at the base of the accessible ramp on the

             Property, in violation of section 405.7 of the 2010 ADAAG


                                           7
  Case 1:21-cv-03678-TWT Document 1 Filed 09/03/21 Page 8 of 13




        standards. This ramp also has a running slope exceeding 1:10

        (one to ten), in violation of section 405.2 of the 2010 ADAAG

        standards, and its side flares have slopes in excess of 1:10 (one

        to ten), in violation of section 406.3 of the 2010 ADAAG

        standards. It is empirically obvious that this ramp is dangerous

        and cannot be utilized by a disabled individual in a wheelchair.

(b)     INTERIOR ELEMENTS:

(i)     The interior of the Facility has a sales and service counter

        lacking any portion of which that has a maximum height of 36”

        (thirty-six inches) from the finished floor, in violation of

        section 904.4 of the 2010 ADAAG standards.

(ii)    The Facility lacks restrooms signage that complies with

        sections 216.8 and 703 of the 2010 ADAAG standards.

(iii)   The hardware on the restroom door in the Facility has operable

        parts that require tight grasping, pinching or twisting of the

        wrist, in violation of section 309.4 of the 2010 ADAAG

        standards.

(iv)    The controls on the faucets in the restrooms in the Facility

        require pinching and turning of the wrists, in violation of


                                    8
        Case 1:21-cv-03678-TWT Document 1 Filed 09/03/21 Page 9 of 13




             section 309.4 of the 2010 ADAAG standards.

      (v)    The sink in the restroom in the Facility has exposed pipes and

             surfaces that are not insulated or configured to protect against

             contact with the skin, in violation of section 606.5 of the 2010

             ADAAG standards.

      (vi)   There are no grab bars adjacent to the commode in the restroom

             in the Facility, in violation of sections 604.5 and 609.4 of the

             2010 ADAAG standards.

      32.    Without limitation, the above-described violations of the ADAAG

rendered the Facility inaccessible to Plaintiff.

      33.    The Property has not been adequately maintained in operable working

condition for those features of facilities and equipment that are required to be

readily accessible to and usable by persons with disabilities in violation of section

28 C.F.R. § 36.211.

      34.    Upon information and good faith belief, Defendant fails to adhere to a

policy, practice and procedure to ensure that all facilities on the Property are

readily accessible to and usable by disabled individuals.

      35.    The violations enumerated above may not be a complete list of the

barriers, conditions or violations encountered by Plaintiff and/or which exist at the


                                           9
       Case 1:21-cv-03678-TWT Document 1 Filed 09/03/21 Page 10 of 13




Facility and Property.

      36.    Plaintiff requires an inspection of Facility and Property in order to

determine all of the discriminatory conditions present at the Facility and Property

in violation of the ADA.

      37.    The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      38.    All of the violations alleged herein are readily achievable to modify

to bring the Facility and Property into compliance with the ADA.

      39.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because the nature and cost of the modifications are relatively low.

      40.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because Defendant has the financial resources to make the necessary

modifications.

      41.    In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be


                                         10
       Case 1:21-cv-03678-TWT Document 1 Filed 09/03/21 Page 11 of 13




modified to comply with the 1991 ADAAG standards.

      42.    Plaintiff is without adequate remedy at law, is suffering irreparable

harm, and reasonably anticipates that she will continue to suffer irreparable harm

unless and until Defendant is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Facility and Property, including

those alleged herein.

      43.    Plaintiff’s requested relief serves the public interest.

      44.    The benefit to Plaintiff and the public of the relief outweighs any

resulting detriment to Defendant.

      45.    Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees

and costs of litigation from Defendant pursuant to 42 U.S.C. §§ 12188 and 12205.

      46.    Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to

grant injunctive relief to Plaintiff, including the issuance of an Order directing

Defendant to modify the Facility and Property to the extent required by the ADA.

      WHEREFORE, Plaintiff prays as follows:

      (a)    That the Court find Defendant in violation of the ADA and ADAAG;

      (b)    That the Court issue a permanent injunction enjoining Defendant from

             continuing its discriminatory practices;

      (c)    That the Court issue an Order requiring Defendant to (i) remove the


                                          11
 Case 1:21-cv-03678-TWT Document 1 Filed 09/03/21 Page 12 of 13




      physical barriers to access and (ii) alter the subject Facility and

      Property to make them readily accessible to, and useable by,

      individuals with disabilities to the extent required by the ADA;

(d)   That the Court award Plaintiff’s counsel reasonable attorneys' fees,

      litigation expenses and costs; and

(e)   That the Court grant such further relief as deemed just and equitable

      in light of the circumstances.

                                Dated: September 3, 2021.

                                Respectfully submitted,

                                /s/Craig J. Ehrlich
                                Craig J. Ehrlich
                                Georgia Bar No. 242240
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                                  12
       Case 1:21-cv-03678-TWT Document 1 Filed 09/03/21 Page 13 of 13




        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman

and a point size of 14.

                                    /s/Craig J. Ehrlich
                                    Craig J. Ehrlich




                                      13
